Case 3:23-cv-00498-JAG Document 29 Filed 08/24/23 Page 1 of 1 PagelD# 16

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
Richmond Division

STAN LABER,

Plaintiff,
Civil Action No. 3:23CV498

UNITED STATES DEPARTMENT OF DEFENSE,

Defendant.

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ORDER
This matter is before the Court upon the joint motion of the parties to establish a schedule

for this proceeding. It appearing that the parties are in agreement, and good cause exists, it is

ORDERED that:

Plaintiff shall provide his proposed amended complaint to Defendant for review on or
before September 1, 2023;

e Defendant shall notify Plaintiff of its position regarding consent on or before
September 8, 2023.

e If Defendant consents, Plaintiff shall file his proposed amended complaint on or
before September 15, 2023, and Defendant shall respond to the amended complaint
on or before September 29, 2023.

e If Defendant does not consent, Plaintiff shall file a motion for leave to amend his
complaint by September 15, 2023, and Defendant shall respond to the motion to
amend on or before September 29, 2023.

Is/ Ox

John A. Gibney, Jr. ‘
t i BAet Judge

Entered: August’2_ 7, 2023
Richmond, Virginia John A. Gibney, Jr.
Senior United States District Judge
